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                       IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION

 UNITED STATES OF AMERICA                        §
                                                 §
                                                 §       CASE NUMBER 6:21-CR-0066-JDK
 v.                                              §
                                                 §
                                                 §
 JOHNNY RAY SMITH, JR. (1)                       §
                                                 §

                ORDER ADOPTING MAGISTRATE JUDGE’S FINDINGS
               OF FACT AND RECOMMMENDATION ON GUILTY PLEA

       The Court referred this matter to the Honorable K. Nicole Mitchell, United States

Magistrate Judge, for administration of a guilty plea under Federal Rule of Criminal Procedure 11.

The Magistrate Judge conducted a hearing in the form and manner prescribed by Rule 11 and

issued Findings of Fact and Recommendation on Guilty Plea.                 The Magistrate Judge

Recommended that the Court accept Defendant’s guilty plea and adjudge Defendant guilty on

Count Five of the Indictment.

       The parties have not objected to the Magistrate Judge’s findings.

       The Court hereby ADOPTS the Findings of Fact and Recommendation on Guilty Plea of

the United States Magistrate Judge. The Court also accepts Defendant’s plea but defers acceptance

of the plea agreement until after review of the presentence report.

       In accordance with Defendant’s guilty plea, the Court finds Defendant Johnny Ray Smith,

Jr. GUILTY of Count Five of the Indictment, charging a violation of Title 21 U.S.C. § 841(a)(1)

- Possession with Intent to Distribute and Distribution of Methamphetamine.
        So ORDERED and SIGNED this 20th day of October, 2021.



                                                  ___________________________________
                                                  JEREMY D. KERNODLE
                                                  UNITED STATES DISTRICT JUDGE
